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UN|TED STATES OF A|V|ER|CA,
P|aintiff,

VS. CR. NO. 03-20433-B

GEORGE K|NDNESS,
Al\/|SCOT MED|CAL LABS,

‘~_/\_/-_/-._r\._/\_/\_/~__/-._r\._z~._z

Defendants.

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came to be heard on Ju|y 6, 2005, the United States Attorney for this districtl
Joe l\/|urphy, appearing for the Government and the defendant, George Kindness, appearing in person
on his own behalf and as representative for Amscot Nledical Labs, and with counse|, Candace Crouse,
who represented the defendants

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Count 11 of the indictmentl

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for THURSDAY, OCTOBER 6, 2005, at 1:30 P.M.,
in Courtroom No. 1, on the 11"‘ floor before Judge J. Danie| Breen.

Defendant is allowed to remain released on present bond.

4\
ENTERED this the é_ day of Juiy, 2005.

J. DAN|EL BREEN
U TED TATES DISTR|CT JUDGE

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Honorable .1. Breen
US DISTRICT COURT

